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 Attorneys for Plaintiffs




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                 Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through
his Guardian Tamara Roske-Martinez; et al.
               Plaintiffs,                    DECLARATION OF JULIA A. OLSON in
                                              Support of Plaintiffs’ Response to Intervenor
v.                                            Defendant American Petroleum Institute’s
                                              Motion to Withdraw
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
               Federal Defendants.




 DECLARATION OF JULIA A. OLSON IN SUPPORT OF PLAINTIFFS’                                  1
 RESPONSE TO INTERVENOR DEFENDANT NATIONAL ASSOCIATION
 OF MANUFACTURERS’ MOTION TO WITHDRAW
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I, Julia, A. Olson, hereby declare and if called upon would testify as follows:

   1. I am an attorney of record in the above-entitled action and I have personal knowledge of

       the statements made herein.

   2. On February 15, 2017, Plaintiffs served counsel for Intervenor Defendants with a draft

       Rule 11 motion, which included relevant evidence of knowledge of each trade

       association, and their members, on the factual allegations of climate change, in an effort

       to compel Intervenor Defendants to specifically admit or deny the allegations. Said draft

       Rule 11 motion is attached as an exhibit to Declaration of Julia Olson Supporting

       Plaintiffs’ Response to NAM’s Motion to Withdraw, ECF 170-1, and is a true and correct

       PDF copy of that draft Rule 11 motion.

   3. Attached as Exhibit 1 to this declaration is a list of API members, pulled from: American

       Petroleum Institute, Members, http://www.api.org/membership/members (last visited

       June 2, 2017).

   4. Attached as Exhibit 2 to this declaration is a true and correct PDF copy of the following

       article: Chelsea Harvey, These Fossil-Fuel Groups Joined a Historic Climate Lawsuit.

       Now, They Want to Get Out of It., Wash. Post (May 26, 2017),

       https://www.washingtonpost.com/news/energy-environment/wp/2017/05/26/three-fossil-

       fuel-groups-joined-a-historic-climate-lawsuit-now-they-want-to-get-out-of-it. In this

       article, Eric Wohlschlegel, media director of API, is quoted as saying: “We continue to

       focus on the progress the U.S. is making leading the world in reducing carbon and other

       emissions, and we have full confidence that the courts will recognize that Congress and

       the Executive branch have the constitutional authority to write and execute the laws of

     the U.S.” Harvey says that, “[i]n moving to withdraw from the litigation this week, the
DECLARATION OF JULIA A. OLSON IN SUPPORT OF                                                  2
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       industry groups may be able to avoid having to respond to a request for admission from

       the plaintiffs. This is a series of allegations or complaints presented by the plaintiffs,

       mainly surrounding the issue of climate change and its effects in this case, that the

       defendants are required by the court to address. They include questions about the

       industry’s position on the effects of climate change on water supplies, agriculture and

       other natural systems, as well as the ability of human societies and natural ecosystems to

       adapt.”

   5. Attached as Exhibit 3 to this declaration is a true and correct PDF copy of Shell Oil

       Company, a member of API, internal document: A Better Life with a Healthy Planet:

       Pathways to Net-Zero Emissions, goo.gl/FCsZtQ, in which Shell says: “The rising level

       of CO2 not only puts pressure on the climate, but also warms and acidifies the oceans,

       raises sea levels, threatens land-based ecosystems and affects patterns of food production.

       There is broad scientific consensus that the quality of life for hundreds of millions of

       people stands to suffer from this second challenge.” Page 9. “Even if annual global CO2

       emissions remain steady at their current level, the cumulative emissions consistent with a

       rise of 1.5°C could be reached as early as 2028.” Page 19.

   6. Attached as Exhibit 4 to this declaration is a true and correct PDF copy of the following:

       American Petroleum Institute, Climate Models and CO2 Warming: A Selective Review

       and Summary (Mar. 1982). This report details the impacts of CO2 emissions on climate

       change and acknowledges an increase of CO2 concentrations from 290 parts per million

       (ppm) at the beginning of the industrial revolution to 340 ppm in 1981, acknowledges a

       general consensus that temperatures will rise 4º C, and estimates that global temperature

     rise from a doubling of CO2 concentrations could increase global temperatures from 0.1º
DECLARATION OF JULIA A. OLSON IN SUPPORT OF                                                  3
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      C to 3.5º C. Pages 4–5, 38.

   7. Attached as Exhibit 5 to this declaration is a true and correct PDF copy of the following:

      D. J. Devlin, Exxon Biomedical Sciences, Purported Impact of Climate Change o[n]

      Human Health (Sept. 19, 1986). This document details potential negative impacts on

      human health and wellness that climate change could cause, discussing malaria

      outbreaks, rodent-borne hantavirus in the US, and dengue fever. It concludes that lack of

      scientific certainty should not justify postponement of preventative action but also

      encourages promoting the concept of relative risk: that there are other disease factors than

      climate change alone.

   8. Attached as Exhibit 6 to this declaration is a true and correct PDF copy of the following:

      ExxonMobil, Global Climate Change: A Better Path Forward (2000). This document

      acknowledges a “slight warming” and acknowledges that climate change “may pose a

      legitimate long-term risk, and that more needs to be learned about it.”

   9. Attached as Exhibit 7 to this declaration is a true and correct PDF copy of the following:

      Lenny Bernstein, American Petroleum Institute, Critical Issues in the Intergovernmental

      Panel on Climate Change: Third Assessment Report (July 2001). This document

      discounts Intergovernmental Panel on Climate Change reports, for such reasons as

      insufficient scientific proof and insufficient account of all variables.

   10. Attached as Exhibit 8 to this declaration is a true and correct PDF copy of the following:

      Letter from Kenneth P. Cohen, Vice President of Public Affairs for ExxonMobil to Lord

      Rees of Ludlow Kt PRS, President, The Royal Society (Sept. 25, 2006). This document

      acknowledges the major role of fossil fuels in carbon dioxide emissions and the linkage

     of economic development, energy supply, and climate change. This document recognizes
DECLARATION OF JULIA A. OLSON IN SUPPORT OF                                             4
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       the need for action to mitigate “serious impacts” of fossil fuel use on climate change.

   11. Incorporated by reference to this declaration and attached as Exhibit 3 to the Declaration

       of Julia Olson Supporting Plaintiff’s Response to NAM’s Motion to Withdraw, ECF 170-

       3, as a true and correct PDF copy, is: Andrew Revkin, Industry Ignored Its Scientists on

       Climate, N.Y. Times (Apr. 23, 2009), at A1,

       http://www.nytimes.com/2009/04/24/science/earth/24deny.html.




In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

DATED this 8th day of June, 2017, at Eugene, Oregon.



                                             Respectfully submitted,

                                             /s/ Julia A. Olson




DECLARATION OF JULIA A. OLSON IN SUPPORT OF                                                         5
PLAINTIFFS’ RESPONSE TO INTERVENOR DEFENDANT
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